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         EXHIBIT 4
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                                        United States District Court
                      Northern District of Illinois - CM/ECF LIVE, Ver 6.3.2 (Chicago)
                              CIVIL DOCKET FOR CASE #: 1:20-cv-02005


 Big Onion Tavern Group, LLC et al v. Society Insurance, Inc.                         Date Filed: 03/27/2020
 Assigned to: Honorable Edmond E. Chang                                               Jury Demand: Plaintiff
 Demand: $9,999,000                                                                   Nature of Suit: 110 Contract: Insurance
 Cause: 28:1332 Diversity-Contract Dispute                                            Jurisdiction: Diversity
 Plaintiff
 Big Onion Tavern Group, LLC                                             represented by Christopher J. O'Malley
                                                                                        King & Spalding LLP
                                                                                        353 N. Clark
                                                                                        12th Floor
                                                                                        Chicago, IL 60654
                                                                                        312 995-6333
                                                                                        Email: comalley@kslaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Patrick M. Collins
                                                                                      King & Spalding LLP
                                                                                      353 N. Clark St.
                                                                                      Suite 1200
                                                                                      Chicago, IL 60654
                                                                                      (312) 764-6901
                                                                                      Email: pcollins@kslaw.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Headquarters Beercade LLC                                               represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Patrick M. Collins
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Machine 1846 LLC                                                        represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Patrick M. Collins
                                                                                      (See above for address)

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                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED
 Plaintiff
 The New 400 LLC                                                         represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Patrick M. Collins
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Harper Theater LLC                                                      represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Patrick M. Collins
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Welcome Back LLC                                                        represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Patrick M. Collins
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 Legacy Hospitality LLC                                                  represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Patrick M. Collins
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 Mcbrides Aurora Inc.                                                    represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

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                                                                                Patrick M. Collins
                                                                                (See above for address)
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED

 Plaintiff
 Homeslyce Is Where The Heart Is LLC                                     represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Patrick M. Collins
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 3458 Norclark Restaurant LLC                                            represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Patrick M. Collins
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Happy Camper Pizzeria LLC                                               represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Patrick M. Collins
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 1913 Northco LLC                                                        represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Patrick M. Collins
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Mcbride's Pub Inc.                                                      represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
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                                                                                                Page
                                                                                  ATTORNEY TO BE NOTICED

                                                                                     Patrick M. Collins
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 Mcbride's On 52 Inc.                                                    represented by Christopher J. O'Malley
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Patrick M. Collins
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 Society Insurance, Inc.


  Date Filed             #     Docket Text
  03/27/2020             1 COMPLAINT filed by Welcome Back LLC, Happy Camper Pizzeria LLC, Machine 1846
                           LLC, Legacy Hospitality LLC, Homeslyce Is Where The Heart Is LLC, Headquarters
                           Beercade LLC, 1913 Northco LLC, Mcbride's On 52 Inc., Mcbrides Aurora Inc., The New
                           400 LLC, Big Onion Tavern Group, LLC, Mcbride's Pub Inc., 3458 Norclark Restaurant
                           LLC, Harper Theater LLC; Jury Demand. Filing fee $ 400, receipt number 0752-
                           16879728. (Attachments: # 1 Exhibit - A, # 2 Exhibit - B, # 3 Exhibit - C)(Collins,
                           Patrick) (Entered: 03/27/2020)
  03/27/2020             2 CIVIL Cover Sheet (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020             3 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by 1913 Northco LLC (Collins,
                           Patrick) (Entered: 03/27/2020)
  03/27/2020             4 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by 3458 Norclark Restaurant
                           LLC (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020             5 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Big Onion Tavern Group,
                           LLC (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020             6 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Happy Camper Pizzeria LLC
                           (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020             7 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Harper Theater LLC (Collins,
                           Patrick) (Entered: 03/27/2020)
  03/27/2020             8 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Headquarters Beercade LLC
                           (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020             9 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Homeslyce Is Where The
                           Heart Is LLC (Collins, Patrick) (Entered: 03/27/2020)

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  03/27/2020            10 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Legacy Hospitality LLC
                           (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020            11 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Machine 1846 LLC (Collins,
                           Patrick) (Entered: 03/27/2020)
  03/27/2020            12 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Mcbrides Aurora Inc.
                           (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020            13 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Mcbride's On 52 Inc.
                           (Collins, Patrick) (Entered: 03/27/2020)
  03/27/2020            14 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Mcbride's Pub Inc. (Collins,
                           Patrick) (Entered: 03/27/2020)
  03/27/2020            15 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by The New 400 LLC (Collins,
                           Patrick) (Entered: 03/27/2020)
  03/27/2020            16 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Welcome Back LLC (Collins,
                           Patrick) (Entered: 03/27/2020)
  03/27/2020            17 ATTORNEY Appearance for Plaintiffs 1913 Northco LLC, 3458 Norclark Restaurant
                           LLC, Big Onion Tavern Group, LLC, Happy Camper Pizzeria LLC, Harper Theater LLC,
                           Headquarters Beercade LLC, Homeslyce Is Where The Heart Is LLC, Legacy Hospitality
                           LLC, Machine 1846 LLC, Mcbride's On 52 Inc., Mcbride's Pub Inc., Mcbrides Aurora
                           Inc., The New 400 LLC, Welcome Back LLC by Patrick M. Collins (Collins, Patrick)
                           (Entered: 03/27/2020)
  03/27/2020            18 ATTORNEY Appearance for Plaintiffs 1913 Northco LLC, 3458 Norclark Restaurant
                           LLC, Big Onion Tavern Group, LLC, Happy Camper Pizzeria LLC, Harper Theater LLC,
                           Headquarters Beercade LLC, Homeslyce Is Where The Heart Is LLC, Legacy Hospitality
                           LLC, Machine 1846 LLC, Mcbride's On 52 Inc., Mcbride's Pub Inc., Mcbrides Aurora
                           Inc., The New 400 LLC, Welcome Back LLC by Christopher J. O'Malley (O'Malley,
                           Christopher) (Entered: 03/27/2020)
  03/27/2020                  CASE ASSIGNED to the Honorable Edmond E. Chang. Designated as Magistrate Judge
                              the Honorable Gabriel A. Fuentes. Case assignment: Random assignment. (lw, ) (Entered:
                              03/27/2020)
  03/30/2020            19 NOTICE TO THE PARTIES - The Court is participating in the Mandatory Initial
                           Discovery Pilot (MIDP). The key features and deadlines are set forth in this Notice which
                           includes a link to the (MIDP) Standing Order and a Checklist for use by the parties. In
                           cases subject to the pilot, all parties must respond to the mandatory initial discovery
                           requests set forth in the Standing Order before initiating any further discovery in this case.
                           Please note: The discovery obligations in the Standing Order supersede the disclosures
                           required by Rule 26(a)(1). Any party seeking affirmative relief must serve a copy of the
                           following documents (Notice of Mandatory Initial Discovery and the Standing Order) on
                           each new party when the Complaint, Counterclaim, Crossclaim, or Third-Party Complaint
                           is served. (pj, ) (Entered: 03/30/2020)
  03/30/2020            20 ORDER Seconded Amended General Order 20-0012 IN RE: CORONAVIRUS COVID-19
                           PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R. Pallmeyer on March 30,
                           2020. All open cases are impacted by this Second Amended General Order. Amended
                           General Order 20-0012, entered on March 17, 2020, and General Order 20-0014, entered
                           on March 20, 2020, are vacated and superseded by this Second Amended General. See
                           attached Order for guidance.Signed by the Honorable Rebecca R. Pallmeyer on 3/30/2020:
                           Mailed notice. (docket5, ) (Entered: 03/31/2020)
  03/31/2020                  SUMMONS Issued as to Defendant Society Insurance, Inc. (ec, ) (Entered: 03/31/2020)
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  04/10/2020            21 MINUTE entry before the Honorable Edmond E. Chang: Initial status hearing set for
                           05/28/2020 at 9:00 a.m. The parties must file a joint initial status report with the content
                           described in the attached status report requirements at least 3 business days before the
                           initial status hearing. Plaintiff must still file the report even if not all Defendants have been
                           served or have responded to requests to craft a joint report. Because the Procedures are
                           occasionally revised, counsel must read them anew even if counsel has appeared before
                           Judge Chang in other cases. Mailed notice (mw, ) (Entered: 04/10/2020)
  04/13/2020            22 WAIVER OF SERVICE returned executed by Welcome Back LLC, Happy Camper
                           Pizzeria LLC, Machine 1846 LLC, Legacy Hospitality LLC, Homeslyce Is Where The
                           Heart Is LLC, Headquarters Beercade LLC, 1913 Northco LLC, Mcbride's On 52 Inc.,
                           Mcbrides Aurora Inc., The New 400 LLC, Big Onion Tavern Group, LLC, Mcbride's Pub
                           Inc., 3458 Norclark Restaurant LLC, Harper Theater LLC. Society Insurance, Inc. waiver
                           sent on 4/10/2020, answer due 6/9/2020. (Collins, Patrick) (Entered: 04/13/2020)
  04/13/2020            23 MINUTE entry before the Honorable Edmond E. Chang: In light of the 06/09/2020 answer
                           deadline, the initial status hearing of 05/28/2020 is reset to 06/11/2020 at 9:00 a.m., with
                           the joint status report due on 06/09/2020. Mailed notice (mw, ) (Entered: 04/13/2020)



                                                          PACER Service Center
                                                              Transaction Receipt
                                                                 04/20/2020 09:35:29
                                                                                            Business
                                    PACER                                          Client
                                                   lfsblaw0044:2586701:4460865              Interruption
                                    Login:                                         Code:
                                                                                            Insurance
                                                                                   Search
                                    Description: Docket Report                               1:20-cv-02005
                                                                                   Criteria:
                                    Billable
                                                   6                               Cost:    0.60
                                    Pages:




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


BIG ONION TAVERN GROUP, LLC;         )
HEADQUARTERS BEERCADE LLC;           )
MACHINE 1846 LLC; THE NEW 400        )
LLC; HARPER THEATER LLC;             )
WELCOME BACK LLC; LEGACY             )
HOSPITALITY LLC; MCBRIDES            )                Case No.
AURORA INC.; MCBRIDE’S PUB INC.;     )
MCBRIDE’S ON 52 INC.; HOMESLYCE      )                JURY TRIAL DEMANDED
IS WHERE THE HEART IS LLC; 3458      )
NORCLARK RESTAURANT LLC;             )
HAPPY CAMPER PIZZERIA LLC; 1913      )
NORTHCO LLC                          )
                                     )
                         Plaintiffs, )
                                     )
     v.                              )
                                     )
SOCIETY INSURANCE, INC.              )
                                     )
                        Defendant. )

                                          COMPLAINT

       Plaintiffs Big Onion Tavern Group, LLC; Headquarters Beercade LLC; Machine 1846

LLC; The New 400 LLC; Harper Theater LLC; Welcome Back LLC; Legacy Hospitality LLC;

McBrides Aurora Inc.; McBride’s Pub Inc.; McBride’s on 52 Inc.; Homeslyce Is Where The

Heart Is LLC; 3458 Norclark Restaurant LLC, Happy Camper Pizzeria LLC, and 1913 Northco

LLC (“Plaintiffs”), for their Complaint against Defendant Society Insurance, Inc. (“Society

Insurance”), allege as follows:

                                       INTRODUCTION

        1.     Plaintiffs are owners and operators of restaurants and movie theaters in Chicago

and its surrounding suburbs who have been forced, by recent orders issued by the State of

Illinois, to cease their operations—through no fault of their own—as part of the State’s efforts to

slow the spread of the COVID-19 global pandemic. The closures mandated by these orders
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present an existential threat to these small, local businesses that employ hundreds of Illinois

residents. To protect their businesses from situations like these, which threaten their livelihoods

based on factors wholly outside of their control, Plaintiffs obtained business interruption

insurance from Society Insurance.        In blatant breach of its insurance obligations that it

voluntarily undertook in exchange for Plaintiffs’ premium payments, Society Insurance has

denied Plaintiffs’ claims arising from the State-ordered interruption of their businesses.

        2.     As a result, Plaintiffs now bring this action against Society Insurance for its

failure to honor its obligations under commercial businessowners insurance policies issued to

Plaintiffs, which provide coverage for losses incurred due to a “necessary suspension” of their

operations, including when their businesses are forced to close due to a government order.

        3.     On March 15, 2020, during the term of the policies issued by Society Insurance to

Plaintiffs, Illinois Governor Pritzker issued an order first closing all restaurants, bars, and movie

theaters to the public in an effort to address the ongoing COVID-19 pandemic. A few days later,

on March 20, 2020, Governor Pritzker ordered all “non-essential businesses” to close. The

March 15 and March 20 orders are hereinafter collectively referred to as the “Closure Orders.”

        4.     As a result of the Closure Orders, the Plaintiffs have been forced to halt ordinary

operations, resulting in substantial lost revenues and forcing the Plaintiffs to furlough or lay off

the majority of their employees.

        5.     But despite Society Insurance’s express promise in its policies to cover the

Plaintiffs’ business interruption losses when the government forces them to close, Society

Insurance has issued blanket denials to Plaintiffs for any losses related to the Closure Orders—

often within hours of receiving Plaintiffs’ claims—without first conducting any meaningful

coverage investigation, let alone a “reasonable investigation based on all available information”

as required under Illinois law.



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        6.     In fact, on March 16, 2020, before many of the Plaintiffs had submitted their

claims, the CEO of Society Insurance circulated a memorandum to its “agency partners,”

acknowledging that states, such as Illinois, had “taken steps to limit operations of certain

businesses,” but prospectively concluding that Society Insurance’s policies would likely not

provide coverage for losses due to a “governmental imposed shutdown due to COVID-19

(coronavirus).” A copy of this memorandum is attached here as “Exhibit A.”

        7.     To the extent Society Insurance has provided any reason to Plaintiffs for its

categorical assertion that Plaintiffs’ losses are not covered, it is based on the assertion that the

“actual or alleged presence of the coronavirus,” which led to the Closure Orders that prohibited

Plaintiffs from operating their businesses, does not constitute “direct physical loss.” See March

23 Letter attached here as “Exhibit B.”

        8.     But Society Insurance’s conclusory statement that the actual or alleged presence

of a substance like COVID-19 does not result in property damage is contrary to the law in

Illinois. Illinois courts have consistently held that the presence of a dangerous substance in a

property constitutes “physical loss or damage.” See, e.g., Bd. of Educ. of Twp. High Sch. Dist.

No. 211 v. Int’l Ins. Co., 720 N.E.2d 622, 625–26 (Ill. Ct. App. 1999), as modified on denial of

reh’g (Dec. 3, 1999).

        9.     Moreover, unlike many commercial property policies available in the market, the

policies sold by Society Insurance do not include an exclusion for loss caused by a virus. Thus,

Plaintiffs reasonably expected that the insurance they purchased from Society Insurance included

coverage for property damage and business interruption losses caused by viruses like the

COVID-19 coronavirus.

        10.    If Society Insurance had wanted to exclude pandemic-related losses under the

Plaintiffs’ policies—as many other insurers have done in other policies—it easily could have



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attempted to do so on the front-end with an express exclusion. Instead, Society Insurance waited

until after it collected Plaintiffs’ premiums, and after a pandemic and the resulting Closure

Orders caused catastrophic business losses to Plaintiffs, to try to limit its exposure on the back-

end through its erroneous assertion that the presence of the coronavirus is not “physical loss” and

therefore is not a covered cause of loss under its policies.

        11.    The fact that the insurance industry has created specific exclusions for pandemic-

related losses under similar commercial property policies undermines Society Insurance’s

assertion that the presence of a virus, like the coronavirus, does not cause “physical loss or

damage” to property. Indeed, if a virus could never result in a “physical loss” to property, there

would be no need for such an exclusion.       Moreover, Society Insurance’s assertion ignores the

fact that their policies promised to provide coverage for losses incurred due to government

actions “taken in response to dangerous physical conditions,” even if those dangerous physical

conditions cause damage to property at locations other than those insured under their policies.

        12.    Thus, Society Insurance’s wholesale, cursory coverage denials are arbitrary and

unreasonable, and inconsistent with the facts and plain language of the policies it issued. These

denials appear to be driven by Society Insurance’s desire to preempt its own financial exposure

to the economic fallout resulting from the COVID-19 crisis, rather than to initiate, as Society is

obligate to do, a full and fair investigation of the claims and a careful review of the policies they

sold to Plaintiffs in exchange for valuable premiums.

        13.    As a result of Society Insurance’s wrongful denial of coverage, Plaintiffs file this

action for a declaratory judgment establishing that they are entitled to receive the benefit of the

insurance coverage they purchased, for indemnification of the business losses they have

sustained, for breach of contract, and for bad faith claims handling under 215 ILCS 5/155.




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                                           PARTIES

        14.     Plaintiff Big Onion Tavern Group LLC (“Big Onion”) is an Illinois limited

liability company, with its principal place of business in Chicago, Illinois. Big Onion’s sole

member is Erik Baylis, a citizen of Illinois. Big Onion operates the following restaurants in

Chicago:      Fatpour Tap Works – Wicker Park, Fatpour Tap Works – McCormick Place,

Hopsmith, Woodie’s Flat, The Irish Oak, Brunch, and Centre Street Kitchen. Big Onion has a

Businessowners Policy from Society Insurance, Policy No. BP18003904-1, which covered losses

for occurrences at each of Big Onion’s restaurants.

        15.     Plaintiff Headquarters Beercade LLC (“Headquarters Beercade”) is an Illinois

limited liability company. The members of Headquarters Beercade are Brian Galati, Chireal

Jordan, both citizens of Illinois, and Wexmore Investments LLC. The members of Wexmore

Investments LLC are the Bruce Wechsler Revocable Trust, the Wechsler Family GST Trust, the

Morris Family Trust, the David and Antonia Mason Trust, and the Amanda F. Morris Trust. The

trustee of the Bruce Wechsler Revocable Trust is Bruce Wechsler, a citizen of Illinois. The

trustees of the Wechsler Family GST Trust are Jeremy Wechsler, David Wechsler, and Sandra

Wechsler, citizens of Illinois. The trustees of the Morris Family Trust are Jeffrey Morris and

Mona Morris, citizens of California. The trustees of the David and Antonia Mason Trust are

David and Antonia Mason, citizens of California. The trustee of the Amanda F. Morris Trust is

Amanda Morris, a citizen of California. Headquarters Beercade operates Headquarters Beercade

– River North in Chicago. Headquarters Beercade LLC has a Businessowners Policy from

Society Insurance, Policy No. BP17034010-6.

        16.     Plaintiff Machine 1846 LLC (“Machine 1846”) is an Illinois limited liability

company. The members of Machine 1846 are Neil Lauer, Brian Galati, and Chireal Jordan,

citizens of Illinois. Machine 1846 operates Machine: Engineered Dining & Drink in Chicago’s



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Wicker Park neighborhood. Machine 1846 has a Businessowners Policy from Society Insurance,

Policy No. BP18010967-2.

        17.   Plaintiff The New 400 LLC (“The New 400”) is an Illinois limited liability

company. The sole member of The New 400 is Tony Fox, a citizen of Illinois. The New 400

operates the New 400 Theater in Chicago. The New 400 has a Businessowners Policy from

Society Insurance, Policy No. BP16015184-3.

        18.   Plaintiff Harper Theater LLC (“Harper Theater”) is an Illinois limited liability

company. The sole member of Harper Theater is Tony Fox, a citizen of Illinois. Harper Theater

operates the Harper Theater in Chicago. Harper Theater has a Businessowners Policy from

Society Insurance, Policy No. BP560202-7.

        19.   Plaintiff Welcome Back LLC (“Welcome Back”) is an Illinois limited liability

company. The members of Welcome Back are Illinois citizens Ryan Marks, Matthew Denk,

Eric Jenema, Nicholas Filimon, and Robert Kabakoff, as well as Florida citizen Roger Marks.

Welcome Back owns Welcome Back Restaurant in Chicago.                 Welcome Back has a

Businessowners Policy from Society Insurance, Policy No. BP18035428-1.

        20.   Plaintiff Legacy Hospitality LLC (“Legacy Hospitality”) is a Florida limited

liability company. The members of Legacy Hospitality are Ryan Marks, a citizen of Illinois, and

Roger Marks, a citizen of Florida.    Legacy Hospitality operates The Vig and The Whale

restaurants in Chicago. Legacy Hospitality has a Businessowners Policy from Society Insurance,

Policy No. BP18012824-1.

        21.   Plaintiff McBrides Aurora Inc. (“McBrides Aurora”) is an Illinois corporation

with its principal place of business in Illinois. McBrides Aurora operates the pub McBride’s

North in Aurora, Illinois.   McBrides Aurora has a Businessowners Policy from Society

Insurance, Policy No. TRM 591971-4.



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        22.   Plaintiff McBride’s Pub Inc. (“McBride’s Pub”) is an Illinois corporation with its

principal place of business in Illinois. McBride’s Pub operates McBride’s Pub & Grille in

Plainfield, Illinois. McBride’s Pub has a Businessowners Policy from Society Insurance, Policy

No. TRM 554796-7.

        23.   Plaintiff McBride’s on 52 Inc. (“McBride’s on 52”) is an Illinois corporation with

its principal place of business in Illinois. McBride’s on 52 Inc. operates the pub McBride’s on

52 in Joliet, Illinois. McBride’s on 52 has a Businessowners Policy from Society Insurance,

Policy No. TRM 577259-6.

        24.   Plaintiff Homeslyce Is Where the Heart Is LLC (“Homeslyce”) is and Illinois

limited liability company. The members of Homeslyce are:

          a. Illinois citizens Clay Hamilton, Josh Iachelli, Scott Behrens, Greg Boyle, Mark

              Posner, Edward McLoughlin, Troy Schira, Steven Troy Schira, Glenn Hughes,

              Lance Lauderdale;

          b. Oregon citizens Curt Bennett, Jason Miller, Stephen Harper, Kenneth

              MacDonald, Linda MacDonald;

          c. Colorado citizens Jarka Durba and Stephen Kern;

          d. The Jacobs Family Trust. The trustee of The Jacobs Family Trust is Jay Jacobs, a

              citizen of Montana;

          e. North Carolina citizen Michael Kutcher;

          f. Washington citizen Benjamin Wallace;

          g. Stem Ltd Partnership. The partners of Stem Ltd Partnership are Florida citizen Ed

              McLoughlin and Illinois citizens Tim McLoughlin and Megan Horwath; and




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          h. In Your Eye LLC. The members of In Your Eye LLC are Illinois citizens Tim

              Callahan, Peter Forker, Fred Gonzalez, Anita Rambhajan, Ernest Brown, Todd

              Baraniak, Aaron Baum, Maureen Callahan, and Glen Keefer.

       Homeslyce operates Homeslice Restaurant in Chicago. Homeslyce has a Businessowners

Policy from Society Insurance, Policy No. BP17001670.

       25.    Plaintiff Happy Camper Pizzeria LLC (“Happy Camper Pizzeria”) is an Illinois

limited liability company. Happy Camper Pizzeria’s members are:

          a. Illinois citizens Clay Hamilton, Josh Iachelli, Scott Behrens, Greg Boyle, Renee

              Boyle, Matthew Wilke, Brooke Wilke, Edward McLoughlin, Stephen Madry,

              Valerie Vlahos, Troy Schira, Gaurav Vajaria, and Glenn Hughes;

          b. Oregon citizens Carol Bennett, Curt Bennett, Stephen Harper, Kenneth

              MacDonald, and Linda MacDonald;

          c. North Carolina citizen Michael Kutcher;

          d. Indiana citizens Thomas Jones and Tamara Jones;

          e. Washington citizen Benjamin Wallace;

          f. Texas citizen Chris Tartara;

          g. Stem Ltd Partnership. The partners in Stem Ltd Partnership are Florida citizen Ed

              McLoughlin and Illinois citizens Tim McLoughlin and Megan Horwath;

          h. CK 1029 LLC. CK 1029 LLC’s members are Illinois citizens Kevin Killerman

              and Carmen Rossi; and

          i. Dopey Camper, LLC. Dopey Camper, LLC’s members are Illinois citizens Tim

              Callahan, Peter Forker, Anita Rambhajan, Ernest Brown, Todd Baraniak, Aaron

              Baum, Maureen Callahan, and Rebecca Carl.




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       Happy Camper Pizzeria operates the Happy Camper Pizzeria restaurant in Chicago’s Old

Town neighborhood. Happy Camper Pizzeria has a Business Owners Policy from Society

Insurance, Policy No. BP15015198-4.

        26.   Plaintiff 3458 Norclark Restaurant LLC (“3458 Norclark Restaurant”) is an

Illinois limited liability company. The members of 3458 Norclark Restaurant are Illinois citizens

Clay Hamilton, Josh Iachelli, and Kevin Killerman. 3548 Norclark Restaurant operates Happy

Camper Pizzeria in Chicago’s Lakeview neighborhood. 3548 Norclark has a Businessowners

Policy from Society Insurance, Policy No. BP19020696-0.

        27.   Plaintiff 1913 Northco LLC (“1913 Northco”) is an Illinois limited liability

company. The members of 1913 Northco are:

           a. Illinois citizens Clay Hamilton, Josh Iachelli, Greg Boyle, Edward McLoughlin,

              Stephen Madry, and Valerie Vlahos;

           b. Oregon citizens Curt Bennett, Stephen Harper, Kenneth MacDonald, and Linda

              MacDonald;

           c. Colorado citizen Stephen Kern;

           d. North Carolina citizen Michael Kutcher;

           e. Indiana citizens Thomas Jones and Tamara Jones;

           f. Washington citizen Benjamin Wallace;

           g. Stem Ltd Partnership. The partners in Stem Ltd Partnership are Florida citizen Ed

              McLoughlin and Illinois citizens Tim McLoughlin and Megan Horwath;

           h. Trailer Park Eating, LLC. The members of Trailer Park Eating, LLC are Illinois

              citizens Tim Callahan, Peter Forker, Anita Rambhajan, Ernest Brown, Todd

              Baraniak, Aaron Baum, Maureen Callahan, and Ryan Reed; and




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            i. Mystic Pizza Holding, LLC. The members of Mystic Pizza Holding, LLC are

                Illinois citizen Ethan Samson, RM/MM Millennium Partnership, and the Kevin J.

                Brown 1995 Trust dated 11/11/2015.           The partners of RM/MM Millennium

                Partnership are Illinois citizens Jerrod Melman, Molly Melman, and RJ Melman.

                The trustee of the Kevin J. Brown 1995 Trust dated 11/11/2015 is Kevin Brown, a

                citizen of Illinois.

        1913 Northco operates Paradise Park restaurant in Chicago’s Wicker Park neighborhood.

1913 Northco has a Businessowners Policy from Society Insurance, Policy No. BP18022240-1.

         28.    Defendant Society Insurance is an insurance company engaged in the business of

selling insurance contracts to commercial entities such as Plaintiffs in Illinois and elsewhere.

Society Insurance is incorporated in the State of Wisconsin and maintains its principal place of

business in Wisconsin.

                                       JURISDICTION & VENUE

         29.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there is

complete diversity between the parties and the amount in controversy exceeds $75,000, exclusive

of interest and costs.

         30.    This Court has personal jurisdiction over Society Insurance pursuant to the

Illinois “long arm statute,” 735 ILCS 5/2-209, because Society Insurance has submitted to

jurisdiction in this state by: (a) transacting business in Illinois; (b) contracting to insure a person,

property or risk located within Illinois at the time of contracting; and (c) making a contract

substantially connected with Illinois. See 735 ILCS 5/2-209(1), (4), (7). In addition, Society

Insurance exercises substantial, systematic and continuous contacts with Illinois by doing

business in Illinois, serving insureds in Illinois, and seeking additional business in Illinois.




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        31.    This Court has jurisdiction to grant declaratory relief under 28 U.S.C. § 2201

because an actual controversy exists between the parties as to their respective rights and

obligations under the Policy with respect to the loss of business arising from the civil authority

event detailed below.

        32.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omission giving rise to Plaintiffs’ claims occurred within the

Northern District of Illinois.

                                  FACTUAL ALLEGATIONS

        33.    Plaintiffs incorporate by reference, as if fully set forth herein, the allegations in

paragraphs 1–32 above.

       A. The Society Insurance Policies

        34.    In exchange for substantial premiums, Society Insurance sold commercial

property insurance policies promising to indemnify the Plaintiffs for losses resulting from

occurrences, including the “necessary suspension” of business operations at any insured location

caused by a government order, during the relevant time period (each a “Policy” and collectively,

the “Policies”).

        35.    Each Policy was issued to Plaintiffs at their principal places of business in Illinois.

        36.    The relevant provisions setting forth the scope of coverage for business

interruption losses are the same under each Policy. An example of a Policy is attached here as

“Exhibit C.”

        37.    The Policy is an “all risk” policy that provides broad coverage for losses caused

by any cause unless expressly excluded.




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        38.    The Society Insurance Policies do not exclude losses from viruses or pandemics.

Thus, the all-risk Policies purchased by the Plaintiffs cover losses caused by viruses, such as

COVID-19.

        39.    In addition to property damage losses, Society Insurance also agreed to “pay for

the actual loss of Business Income” sustained by Plaintiffs “due to the necessary suspension” of

Plaintiffs’ operations during the period of business interruption caused by “by direct physical

loss of or damage to covered property” at the insured’s premises.

        40.    With respect to business interruption losses, “suspension” means: (1) “the partial

slowdown or complete cessation of your business activities”; or (2) “that a part or all of the

described premises is rendered untenantable if coverage for Business Income applies.”

        41.    “Business Income” is defined in relevant part under the Policies as “Net Income

(Net Profit or Loss before income taxes) that would have been earned or incurred if no physical

loss or damage had occurred” plus “continuing necessary operating expenses incurred.”

        42.    Society Insurance also promised to “pay necessary Extra Expense” Plaintiffs incur

during the period of interruption that they “would not have incurred if there had been no direct

physical loss or damage to covered property at the described premises.”

        43.    “Extra Expense” is defined in relevant part under the Policies as any expense

incurred (1) “to avoid or minimize the suspension of business and to continue operations at the

described premises”; (2) “[t]o minimize the suspension of business if [Plaintiffs] cannot continue

operations”; or (3) “to [r]epair or replace any property[.]”

        44.    The Society Insurance Policies also include “Civil Authority” coverage, pursuant

to which Society Insurance promised to pay for the loss of Business Income and necessary Extra

Expense sustained by Plaintiffs “caused by action of civil authority that prohibits access” to

Plaintiffs’ insured premises.



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        45.     This Civil Authority coverage is triggered when any non-excluded cause results in

“damage to property other than property” at the Plaintiffs’ premises, and is intended to cover

losses resulting from governmental actions “taken in response to dangerous physical conditions.”

       B. The Plaintiffs’ Losses Due to the Coronavirus Pandemic and the Closure Orders.

        46.     On March 11, 2020, the World Health Organization declared that the emerging

threat from the novel coronavirus—otherwise known as COVID-19—constituted a global

pandemic.

        47.     Emerging research on the virus and recent reports from the CDC indicate that the

COVID-19 strains physically infect and can stay alive on surfaces for at least 17 days, a

characteristic that renders property exposed to the contagion potentially unsafe and dangerous.

Other research indicates that the virus may linger on surfaces for up to four weeks in low

temperatures.

        48.     In response to the pandemic, and the spread of the coronavirus in Chicago and

throughout Illinois, Illinois Governor Pritzker issued Executive Order 2020-07 on March 15,

2020 requiring that all bars, restaurants, and movie theaters close to the public beginning on

March 16, 2020 and continuing through March 30, 2020.

        49.     The continuous presence of the coronavirus on or around Plaintiffs’ premises has

rendered the premises unsafe and unfit for their intended use and therefore caused physical

property damage or loss under the Policies.

        50.     Executive Order 2020-07 was issued in direct response to these dangerous

physical conditions, and prohibited the public from accessing Plaintiffs’ restaurants, thereby

causing the necessary suspension of their operations and triggering the Civil Authority coverage

under the Policies. Executive Order 2020-07 specifically states, “the Illinois Department of

Public Health recommends Illinois residents avoid group dining in public settings, such as in



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bars and restaurants, which usually involves prolonged close social contact contrary to

recommended practice for social distancing,” and that “frequently used surfaces in public

settings, including bars and restaurants, if not cleaned and disinfected frequently and properly,

also pose a risk of exposure.”

        51.    Governor Pritzker’s March 20, 2020 Closure Order (Executive Order 2020-10)

closing all “non-essential” businesses in Illinois, including all restaurants and movie theaters,

likewise was made in direct response to the continued and increasing presence of the coronavirus

on property or around Plaintiffs’ premises.

        52.    Like the March 15, 2020 Closure Order, the March 20, 2020 Order prohibited the

public from accessing Plaintiffs’ restaurants, thereby causing the necessary suspension of their

operations and triggering the Civil Authority coverage under the Policies.

        53.    As a result of the Closure Orders, the Plaintiffs have each suffered substantial

Business Income losses and incurred Extra Expense. The covered losses incurred by Plaintiffs

and owed under the Policies is increasing every day, but are expected to exceed $10 million

dollars. As a result of these catastrophic losses, many of the Plaintiffs have been forced to

furlough their workers and may have to close some or all of their locations permanently.

        54.    Following the March 15, 2020 Closure Order, the Plaintiffs each submitted a

claim to Society Insurance requesting coverage for their business interruption losses promised

under the Policies (collectively, the “Closure Order Claims”).

        55.    Society Insurance has denied each of the Closure Order Claims, either verbally or

in writing.

                          COUNT I: DECLARATORY JUDGMENT

        56.    Plaintiffs incorporate by reference, as if fully set forth herein, the facts set forth in

paragraphs 1–55 above.



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        57.      Each Policy is an insurance contract under which Society Insurance was paid

premiums in exchange for its promise to pay Plaintiffs’ losses for claims covered by the Policy,

such as business losses incurred as a result of the government orders forcing them to close their

businesses.

        58.      Plaintiffs have complied with all applicable provisions of the Policies, including

payment of the premiums in exchange for coverage under the Policies.

        59.      Society Insurance has arbitrarily and without justification refused to reimburse

Plaintiffs for any losses incurred by Plaintiffs in connection with the covered business losses

related to the Closure Orders and the necessary interruption of their businesses stemming from

the COVID-19 pandemic.

        60.      An actual case or controversy exists regarding Plaintiffs’ rights and Society

Insurance’s obligations under the Policies to reimburse Plaintiffs for the full amount of losses

incurred by Plaintiffs in connection with Closure Orders and the necessary interruption of their

businesses stemming from the COVID-19 pandemic.

        61.      Pursuant to 28 U.S.C. § 2201, Plaintiffs seek a declaratory judgment from this

Court declaring the following:

              (a) Plaintiffs’ losses incurred in connection with the Closure Orders and the and the
                  necessary interruption of their businesses stemming from the COVID-19
                  pandemic are insured losses under the Policies;

              (b) Society Insurance has waived any right it may have had to assert defenses to
                  coverage or otherwise seek to bar or limit coverage for Plaintiffs’ losses by
                  issuing blanket coverage denials without conducting a claim investigation as
                  required under Illinois law; and

              (c) Society Insurance is obligated to pay Plaintiffs for the full amount of the losses
                  incurred and to be incurred in connection with the covered business losses related
                  to the Closure Orders during the four-week indemnity period and the necessary
                  interruption of their businesses stemming from the COVID-19 pandemic.




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                             COUNT II: BREACH OF CONTRACT

         62.    Plaintiffs incorporate by reference, as if fully set forth herein, the facts set forth in

paragraphs 1–61 above.

         63.    Each Policy is an insurance contract under which Society Insurance was paid

premiums in exchange for its promise to pay Plaintiffs’ losses for claims covered by the Policy,

such as business losses incurred as a result of the government orders forcing them to close their

businesses.

         64.    Plaintiffs have complied with all applicable provisions of the Policies, including

payment of the premiums in exchange for coverage under the Policies, and yet Society Insurance

has abrogated its insurance coverage obligations pursuant to the Policies’ clear and unambiguous

terms.

         65.    By denying coverage for any business losses incurred by Plaintiffs in connection

with the Closure Orders and the COVID-19 pandemic, Society Insurance has breached its

coverage obligations under the Policies.

         66.    As a result of Society Insurance’s breaches of the Policies, Plaintiffs have

sustained substantial damages for which Society Insurance is liable, in an amount to be

established at trial.

   COUNT III: STATUTORY PENALTY FOR BAD FAITH DENIAL OF INSURANCE
                          UNDER 215 ILCS 5/155

         67.    Plaintiffs incorporate by reference, as if fully set forth herein, the facts set forth in

paragraphs 1–66 above.

         68.    Upon receipt of the Closure Order Claims, Society Insurance immediately denied

the claims (either verbally or through cursory emails) without conducting any investigation, let

alone a “reasonable investigation based on all available information” as required under Illinois

law. See 215 ILCS 5/154.6.


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          69.   To make matters worse, based on information and belief, Society Insurance

directed its insurance agents, who are not Plaintiffs’ agents, to make sham claim notifications

before Society Insurance’s policyholders even noticed their claims. Society Insurance took these

actions, before claims were even submitted, as part of its plan to discourage claim notifications

and to avoid any responsibility for its policyholders’ staggering losses, in violation of Illinois

law.

          70.   Society Insurance’s denials were vexatious and unreasonable.

          71.   Society Insurance’s denials constitute “improper claims practices” under Illinois

law—namely Society Insurance’s (1) refusals to pay Plaintiffs’ claims without conducting

reasonable investigations based on all available information and (2) failure to provide reasonable

and accurate explanations of the bases in its denials. See 215 ILCS 5/154.6 (h), (n).

          72.   In several cases, Society Insurance offered no reason for its denials and failed to

raise any bona fide disputes as to the whether the claims were covered by the Policies.

          73.   Therefore, pursuant to 215 ILCS 5/155, Plaintiffs request that, in addition to

entering a judgment in favor of Plaintiffs and against Society Insurance for the amount owed

under the Policies at the time of judgment, the Court enter a judgment in favor of Plaintiffs and

against Society Insurance for an amount equal to the greater of (1) 60% of the amount which the

trier of fact finds that Plaintiffs are entitled to recover under the Policies, exclusive of costs; and

(2) $60,000 per Plaintiff. See 215 ILCS 5/155.

          74.   Plaintiffs further requests that the Court enter a judgment in favor of Plaintiffs and

against Society Insurance in an amount equal to the attorneys’ fees and costs incurred by

Plaintiffs for the prosecution of this coverage action against Society Insurance, which amount

will be proved at or after trial, pursuant to 215 ILCS 5/155.




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                                     PRAYER FOR RELIEF
               WHEREFORE, Plaintiffs respectfully pray that the Court:

1.     Enter a declaratory judgment on Count II of the Complaint in favor of Plaintiffs and
       against Society Insurance, declaring as follows:

           (a) Plaintiffs’ losses incurred in connection with the Closure Orders and the
               necessary interruption of their businesses stemming from the COVID-19
               pandemic are insured losses under the Policies;

           (b) Society Insurance has waived any right it may have had to assert defenses to
               coverage or otherwise seek to bar or limit coverage for Plaintiffs’ losses by
               issuing blanket coverage denials without conducting a claim investigation as
               required under Illinois law; and

           (c) Society Insurance is obligated to pay Plaintiffs for the full amount of the losses
               incurred and to be incurred in connection with the covered business losses related
               to the Closure Orders during the four-week indemnity period and the necessary
               interruption of their businesses stemming from the COVID-19 pandemic.

2.     Enter a judgment on Count II of the Complaint in favor of Plaintiffs and against Society
       Insurance and award damages for breach of contract in an amount to be proven at trial;

3.     Enter a judgment on Count III of the Complaint in favor of Plaintiffs and against Society
       Insurance in the amount equal to amount equal to the greater of (1) 60% of the amount
       which the trier of fact finds that Plaintiffs are entitled to recover under the Policies,
       exclusive of costs; and (2) $60,000 per Plaintiff;

4.     Enter a judgment in favor of Plaintiffs and against Society Insurance in an amount equal
       to all attorneys’ fees and related costs incurred for the prosecution of this coverage action
       against Society Insurance, pursuant to 215 ILCS 5/155, which amount to be established at
       the conclusion of this action;

5.     Award to Plaintiffs and against Society Insurance prejudgment interest, to be calculated
       according to law, to compensate Plaintiffs for the loss of use of funds caused by Society
       Insurance’s wrongful refusal to pay Plaintiffs for the full amount in costs incurred in
       connection with Closure Order Claims.

6.     Award Plaintiffs such other, further, and additional relief as this Court deems just and
       appropriate.

                                         JURY DEMAND

Plaintiffs hereby demand trial by jury on all issues so triable.

       Respectfully submitted this 27th day of March 2020.




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